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                       EXHIBIT B
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   McGuireWoods LLP
  888 16th Street N.W.
              Suite 500
 Washington, DC 20006
  Phone: 202.857.1700
    Fax: 202.857.1737
www.mcguirewoods.com


 George J. Terwilliger III                                                                                                                           gterwilliger@mcguirewoods.com
   Direct: 202.857.2473                                                                                                                                           Fax: 202.828.2965




          October 7, 2021



          Honorable Bennie G. Thompson, Chairman
          Honorable Liz Cheney, Vice Chair
          Select Committee to Investigate the January 6th Attack on the United States Capitol
          U.S. House of Representatives
          1540A Longworth House Office Building
          Washington, DC 20515


          Re:         Subpoenas Served on Honorable Mark R. Meadows


          Dear Chair Thompson and Vice Chair Cheney:

          Please be advised that I have been retained to serve as counsel to Mr. Meadows in connection
          with the January 6th Select Committee’s investigation and specifically, Committee subpoenas
          served on Mr. Meadows.

          Inasmuch as I was retained yesterday in this matter, please understand that my opportunity to, on
          behalf of my client, begin our cooperation with your investigation has been extremely limited.
          Nonetheless, I can inform the Committee of the following in response to the subpoena for
          production of documents with a return date of October 7, 2021. We believe that any documents
          responsive to that subpoena would not be in Mr. Meadows personal care, custody or control, but
          rather would be in the possession of the Archivist of the United States pursuant to the
          Presidential Records Act of 1978, 44 U.S.C. §§ 2201-2207. Despite that belief, we are
          undertaking due diligence to ascertain whether Mr. Meadows is in personal possession of any
          responsive documents and will report further to the Committee in that regard as soon as we have
          any pertinent and/or definitive information.

          As to the subpoena for testimony with a return date of October 15, 2021, I anticipate being in
          touch forthwith with the Committee’s investigative staff in that regard.




                   Atlanta | Austin | Baltimore | Charlotte | Charlottesville | Chicago | Dallas | Houston | Jacksonville | London | Los Angeles - Century City
                        Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
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Sincerely yours,




George J. Terwilliger III


cc:    Honorable Timothy J. Heaphy, Chief Investigative Counsel
       Honorable John F. Wood, Senior Investigative Counsel
